              Case 20-10343-LSS              Doc 11552-1          Filed 10/23/23        Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 11

    BOY SCOUTS OF AMERICA AND                                Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                             (Jointly Administered)
                              Debtors.
                                                             Hearing Date: TBD
                                                             Objection Deadline: November 6, 2023




                                            NOTICE OF MOTION

         PLEASE TAKE NOTICE that, on October 23, 2023, AVA Law Group, Inc. (“AVA”),

on behalf of certain of its clients (the “Claimants”) identified in AVA’s previously filed 2019

statement [D.I. 7447], filed the Motion to Change Election to Opt Into Expedited

Payment/Convenience Class (the “Motion”).

         PLEASE TAKE FURTHER NOTICE that a Hearing on the Motion will be held on a

date to be determined before The Honorable Laurie Selber Silverstein, United States Bankruptcy

Judge, at the United States Bankruptcy Court for the District of Delaware, 824 North Market Street,

Wilmington, Delaware, 19801.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the entry of an order

approving the Motion must be filed by November 6, 2023 at 4:00 p.m. (ET) (the “Objection

Deadline”) with the United States Bankruptcy Court for the District of Delaware, 3rd Floor, 824

North Market Street, Wilmington, Delaware, 19801. At the same time, a copy of any objection




1
  The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 West Walnut Hill Lane, Irving, Texas 75038.
            Case 20-10343-LSS         Doc 11552-1        Filed 10/23/23    Page 2 of 2




must be served upon the undersigned counsel so as to be received on or before the Objection

Deadline.

       PLEASE TAKE FURTHER NOTICE that, if you fail to respond in accordance with this

notice, the Court may grant the relief requested and enter a final order without further notice.


 Dated: October 23, 2023                             CROSS & SIMON, LLC

                                                     /s/ Kevin S. Mann
                                                     Kevin S. Mann (No. 4576)
                                                     Christopher P. Simon (No. 3697)
                                                     1105 North Market Street, Suite 901
                                                     Wilmington, DE 19801
                                                     Telephone: (302) 777-4200
                                                     csimon@crosslaw.com
                                                     kmann@crosslaw.com

                                                     Counsel for AVA Law Group, Inc.




                                                 2
